              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                  Case No. 97-CR-98-1-JPS
 v.

 KEVIN P. O’NEILL,
                                                                  ORDER
                     Defendant.


      On May 9, 2022, Defendant filed a motion with the Court for

compassionate release or, alternatively, a reduction in sentence. ECF No.

2285. On May 13, 2022, the Court referred the motion to the Federal

Defender Services of Wisconsin, Inc. (“FDS”) for review and ordered FDS

to advise the Court by May 27, 2022 whether FDS intends to file anything

on Defendant’s behalf. ECF No. 2286. On June 22, 2022, FDS filed a motion

for an extension of time to inform the Court of its determination until June

29, 2022. ECF No. 2290. On June 23, 2022, the Court granted that motion and

ordered FDS to inform the Court of its determination by June 29, 2022. ECF

No. 2292.

      At this juncture, having received nothing from FDS, the Court will

order the Government to file its response to Defendant’s motion for

compassionate release or, alternatively, a reduction in sentence, ECF No.

2285, on or before August 10, 2022. Defendant shall file his reply brief in

support of his motion for compassionate release or, alternatively, a

reduction in sentence, ECF No. 2285, within Twenty-One (21) days after the

Government files its response.




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      Accordingly,

      IT IS ORDERED that the Government file its response to

Defendant’s motion for compassionate release or, alternatively, a reduction

in sentence, ECF No. 2285, on or before August 10, 2022; and

      IT IS FURTHER ORDERED that Defendant file his reply brief in

support of his motion for compassionate release or, alternatively, a

reduction in sentence, ECF No. 2285, within Twenty-One (21) days after the

Government files its response.

      Dated at Milwaukee, Wisconsin, this 20th day of July, 2022.

                                  BY THE COURT:




                                  J.P. Stadtmueller
                                  U.S. District Judge




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